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oO SE:02
oO ‘ 02°C06
oo ye ‘T Jaquiazaq jo adessaw wesaja) jo Joysuaaias
i voNa gL ¢ cS pl:60 22
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5 UNO Y 92/2 vS:7L ie
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a GSiET 38
I ‘TT Jaquiacag Jo aBessaw WwesZaja| Jo JOYSUaeIIS 90°€06
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